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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


JAN P. HOLICK, JR., STEVEN MOFFITT,
JUSTIN MOFFITT, GURWINDER SINGH,                                  AFFIDAVIT OF
JASON MACK, WILLIAM BURRELL and                                   RONALD G. DUNN, ESQ.
TIMOTHY M. PRATT,                                                 IN SUPPORT OF
                                                                  PLAINTIFFS'
                              Plaintiffs, on behalf of themselves APPLICATION
                              and all others similarly situated,  FOR ATTORNEYS' FEES
                                                                  AND COSTS
               - against -

                                                                     1:12-CV-00584(DJS)
CELLULAR SALES OF NEW YORK, LLC, and
CELLULAR SALES OF KNOXVILLE, INC.,

                               Defendants.




STATE OF NEW YORK )
                              ) ss.:
COUNTY OF ALBANY )

       RONALD G. DUNN, being duly sworn, deposes and says:

        1. I am an attorney duly admitted to practice law before this Court and the Courts

of the State of New York, and I am a partner with the law firm Gleason, Dunn, Walsh & 0'Shea,

attorneys for Plaintiffs Jan P. Holick, Jr. ("Holick"), Steven Moffitt ("S. Moffitt"), Justin Moffitt

("J. Moffitt"), Gurwinder Singh ("Singh"), Jason Mack ("Mack"), William Burrell ("Burrell")

and Timothy M. Pratt ("Pratt") (collectively "Plaintiffs"). I am fully familiar with the facts and

circumstances of this matter, having been primarily responsible for litigating the proceeding

since its inception.
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       2. I make this Affidavit in support of Plaintiffs' Application for Attorneys' Fees,

Costs, Expenses and Disbursements as prevailing parties in this litigation, pursuant to the Fair

Labor Standards Act ("FLSA"), 29 U.S.C. §201 et seq., and the New York State Labor Law

("NYLL") Article 6, §190 et seq, Article 19, §650 et seq., New York CPLR § 5001(b), and

pursuant to an Order dated May 29, 2020.

       3. Familiarity with the precise facts and procedural background of the underlying

action is presumed. Briefly summarized, this is a hybrid collective/class action brought pursuant

to the Fair Labor Standards Act (the "FLSA"), 29 U.S.C. § 201 et seq., Articles 6 and 19 of the

New York Labor Law (the "NYLL"), and New York common law.

       4. Plaintiffs are individuals who worked as Sales Representatives within New

York on behalf of Cellular Sales (hereinafter "Cellular Sales" or "Defendants"). They allege that

they were misclassified by Cellular Sales as independent contractors in violation of the FLSA,

the NYLL, and New York common law. Plaintiffs argued that as a result of the state-wide

misclassification. Cellular Sales was liable for certain damages including unpaid overtime,

minimum wage, unlawful wage deductions, late wages and unjust enrichment.

       5. As evidenced by the over 482 docket entries filed, this matter has involved

extensive legal work. As of the date of this Affidavit, I along with other attorneys at my firm

have spent 5,847.60 hours in legal work devoted to this Action and approximately 101 hours in

legal work devoted to the instant fee application. As set forth specifically herein, through this

application I am requesting compensation for a total of 4,880.15 hours in the amount of

$961,450.50.

        6. To highlight the significance of each activity, I will summarize the legal work

performed in each stage of the case in this Affidavit. Furthermore, attached hereto as Exhibits A




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is a copy of my firm's billing records. A copy of Docket Reports are also attached as Exhibit B.

                       PRE-COMMENCEMENT INVESTIGATION

         7. Our firm was first contacted in April 2011 by the lead plaintiff Jay Holick. He

contacted us in connection with his work at Cellular Sales and issues concerning an application

for Unemployment Insurance benefits pursuant to the New York State Unemployment Insurance

Law. We quickly identified the misclassification of the employees as a central legal and factual

issue for Holick. We also quickly determined that Holick was treated precisely the same as all of

his co-workers. Based on that our firm sent notice to Cellular Sales putting them on notice of a

claim and demanding that it preserve records. We also began investigating the viability of claims

on behalf of Holick and his co-workers alleging improper pay practices under the FLSA and the

New York State Labor Law. Central to all those claims was the issue of misclassification of

employees.

         8. We represented Holick and other Plaintiffs in Unemployment Insurance claim

proceedings. The central issue in the Unemployment Insurance Proceedings was the

misclassification issue. We used that proceeding to investigate and verify the facts underlying the

validity of our claim that Holick and his co-workers were all misclassified as independent

contractors rather than employees. That representation included contested hearings where we

examined under oath a representative of Cellular Sales questioning them on the misclassification

issue.


         9. We are not seeking reimbursement for the work we did in the Unemployment

Insurance Hearings even though the facts we learned in those hearings were used in the ultimate

litigation. However, we did prevail in those Unemployment Insurance Hearings on behalf of

Holick and other plaintiffs on the central issue of misclassification. That process combined with




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our actual notice to Cellular Sales in 2011 that we intended to pursue claims under the FLSA and

NYS Labor Law framed the events in 2011 as we prepared our litigation documents and

communicated with Cellular Sales in pre-liti gallon efforts to resolve the case.

        10. In 2011 The NYS Labor Department mled in favor ofHolick and others on the

unemployment insurance claims, ruling that they were misclassified as independent contractors

rather than employees. Cellular Sales appealed those mlings under NYS Labor Department

procedures that generated a hearing. The Department of Labor, Holick and Cellular Sales were

all parties to that hearing. We are not seeking reimbursement for the time spent in the hearings or

the series of appeals and Court challenges Cellular Sales took opposing the Department of Labor

conclusion that Holick and others had been misclassified even though the factual and legal issues

overlap with the issues in this litigation. We raise it here, because it reveals that misclassification

was central to this case at every stage and was vigorously litigated. That vigorous litigation has

the natural consequence of driving up the time, complexity and expense of this action.

       11. In 2011 my firm put Cellular Sales on notice of the FLSA and NYS Labor

wage claims based on misclassification. Cellular Sales later abandoned the independent

contractor business model effective January 1,2012.

PLEADINGS. APPELLATE WORK. MOTION PRACTICE AND FAILED MEDIATION

        12. Prior to commencement, our firm conducted a thorough investigation into the

Plaintiffs' claims including searches through public records, examining the commission sales

compensation plan, examining various commission reports generated by Cellular Sales and

shared with Holick and his co-workers and interviews with Holick and others.

        13. During 2011 after identifying several claims, our office attempted to settle this

matter without need for any judicial action. That effort was not successful.



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         14. Our office commenced this action with a Complaint filed on April 4, 2012 on

behalf of Plaintiffs J. Holick, S. Moffitt, J. Moffitt, G Singh, and Mack against Defendants

Cellular Sales of New York, LLC ("CSNY") and Cellular Sales of Knoxville, Inc.

("CSOKI")(collectively, "Defendants" or "Cellular Sales") (the "NDNY I Action") (Lead Dkt.
No. I).1

         15. Significantly, the timing of our commencement of the NDNY I Action and

Cellular Sales' abandonment of its independent contractor structure and its move to an

employee-based arrangement in New York, would indicate that we were the catalyst that caused

Cellular Sales' to take corrective action. Even after Cellular Sales abandoned the independent

contractor business model effective January 1, 2012, it continued to aggressively litigate the

misclassification issue at every turn throughout this action. The misclassification issue

dominated the litigation throughout discovery, motion practice and ultimately the trial.

         16. On June 8, 2012, Cellular Sales filed two motions rather than answering the

complaint. The first motion sought pursuant to Fed. R. Civ. P. Rule 12(b)(l) to dismiss the action

for lack of subject-matter jurisdiction, or in the alternative to compel mediation under the FAA,

because plaintiffs had not engaged in contractual mediation with Cellular Sales before bringing

their claims in court. (Lead Case Dkt. No. 7-8). The second motion sought, pursuant to Fed. R.

Civ. P. Rule 12(b)(2), to dismiss CSOKI from the action because of the District Court's

purported lacked personal jurisdiction. (Lead Case Dkt. No. 9-11).

         17. In response to Cellular Sales' motions, we drafted and filed Memorandum of

Law in opposition to Cellular Sales' two Motions to Dismiss. (Lead Case Dkt. No. 12). By

' On or about October 21, 2014, the District Court consolidated action 1:23-CV-0584CNAM/CFH) with 1:13-CV-
0738CNAM/RFT) and designated 1:12-CV-0584(NAM/CFH) as the "lead case" and 1:13-CV-0738(NAM/RFT) as
the "member case". (Dkt. No. 49). Therefore, with respect to references to the record, all citations to lead case are
referred to herein as "Lead Case Dkt. No. " and all citations to member case are referred to as "Member Case
Dkt. No ".


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Decision and Order dated March 28, 2013, Judge Mordue denied Cellular Sales' Motion to

Dismiss for lack of subject-matter jurisdiction, granted Cellular Sales' Motion to Compel non-

binding mediation, dismissed the action, and denied the remaining motions as moot. Holick v.

Cellular Sales of New York, LLC, 1:12-CV-584, 2013 WL 1336608 (N.D.N.Y. March 29,
2013). (Lead Case Dkt. No. 38-39).

       18. Plaintiffs immediately appealed the District Court's March 28, 2013 Decision.

(Lead Case Dkt. No. 40). However, while that Appeal was pending, as a result of Defendants'

litigation strategy, the parties were caused to prepare for and attend mediation on or about June

17, 2013. Ultimately, the mediation was unsuccessful and did not resolve any of Plaintiffs'
claims.


       19. Thereafter, Plaintiffs commenced a new collective/class action, reasserting

Plaintiffs claims previously dismissed by the District Court for failure to engage in mediation.

       20. Ultimately, on or about April 7, 2014, the Second Circuit Court of Appeals

reversed the District Court's March 28, 2013, Decision and Order.

       21. In accordance with the Second Circuit's mandate to reopen the case and vacate

the March 29, 2013 judgment, the litigation resumed. (Lead Case Dkt. No. 49); (Member Case

Dkt. No. 132). Thereafter, the first and second actions were consolidated. (See Lead Case Dkt.
No. 49).

       22. Our efforts as highlighted above are only a small portion of the overall time

and work spent in the preliminary phases of this action. In addition to the above, we have also

drafted and filed responses to Cellular Sales' Motion for Preliminary Injunction (Lead Case Dkt.

No. 55, 58, 61), we have drafted and filed a forty-five (45) page Amended Complaint (Lead Case

Dkt. No. 68), we responded to yet another Partial Motion to Dismiss filed by Cellular Sales



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(Lead Case Dkt No. 70, 76, 78), and we drafted and filed a forty-three (43) page Second

Amended Complaint. (Lead Case Dkt. No. 80).

       23. In addition, on October 8, 2016, we filed a Motion for Leave to File a Third

Consolidated Master and Amended Collective and Class Action Complaint. (Lead Case Dkt. No.

155). The proposed Amended Complaint added an additional claim for liquidated damages under

Article 6 of the N.Y. Labor Law ("NYLL") for Cellular Sales' alleged failure to timely remit

commissions to Plaintiffs in violation ofNYLL §191. (See Lead Case Dkt. No. 155-2).

       24. On November 15, 2016, the Court granted Plaintiffs' leave to amend the

complaint to assert a NYLL untimely commission payment claim. (Lead Case Dkt. No. 176).

Plaintiffs filed the Amended Complaint the same day. (Lead Case Dkt. Nos. 177).

       25. Undeterred, Cellular Sales on November 29, 2016, filed a Rule 12(b)(6)

Motion to Dismiss the NYLL untimely commission payment claim. (Lead Case Dkt. No. 178).

       26. As set forth in the Memorandum of Law, the fees associated with the untimely

commission payment claim are highlighted in green in Exhibit A.

       27. After another lengthy motion process, on September 8, 2017, the Court denied

Cellular Sales' Motion requesting dismissal of Plaintiffs' untimely commission payment, and

mled the claim legally actionable. (Lead Case Dkt. No. 241 at pp. 3-8).

       28. In sum and substance, Plaintiffs' spent approximately 425 hours just to get

through the pleadings stage of the lawsuit. Each of the aforementioned motion practice, letters,

appeals and Court findings were reasonable and necessary given Defendants' strategy to litigate

and resist at every turn.

                                 CLASS CERTIFICATION




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       29. In compliance with the Court's Order (Lead Case Dkt. No. 24), we drafted and

filed Plaintiffs' Motion for Conditional Certification of a FLSA collective action pursuant to 29

U.S.C. § 216(b) and for equitable tolling of similarly situated Sales Representatives' FLSA

claims who were not yet aware of their rights to join plaintiffs' FLSA collective. (Lead Case Dkt.

No. 27). Eventually, Cellular Sales filed its Opposition. (Lead Case Dkt. No. 31). In response,

we filed yet another Letter Motion requesting leave to submit a Reply in Response to

Defendant's Opposition (Lead Case Dkt. No. 32), which was subsequently granted. We then

drafted and filed our Reply. (Lead Case Dkt. No. 33).

       30. On or about Febmary 26, 2014, the case was conditionally certified as a

collective action consisting of potential opt-in Plaintiffs. (Member Case Dkt. No. 74,83,85).

       31. On or about October 13, 2015, we drafted and filed a Stipulation and Order

(Lead Case Dkt. No. 92), wherein the parties agreed to expand the conditionally certified

collective to include additional individuals who opted-in. (Lead Case Dkt. No. 92,94,95).

       32. Ultimately, the FLSA class was decertified and Plaintiffs' Rule 23 Motion to

Certify the State Law claims was denied. (Lead Case Dkt. No. 430).

       33. For the purposes of this application, given that class certification was

ultimately denied. Plaintiffs' counsel has redacted fees related to class certification, including but

not limited to all efforts and litigation over the Notice to the Class, conditional certification and

certification. These fees are highlighted in yellow in the attached billing records (Ex. A), and

account for approximately 1,069 hours of time being redacted from this application.

       34. In connection with the motion for class certification, we simultaneously filed a

Motion for Partial Summary Judgment (see infra), and we used the same material statement of

facts for both. It is difficult to separate out the time spent exclusively on class certification as




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opposed to the motion for summary judgment. For the purpose of this fee application we have

excluded any time entry that refers to the class certification motion even though that undoubtedly

reduces time that was spent on the Motion for Summary Judgment.

        35. We have not redacted the time spent with opt in plaintiffs as fact witnesses on

the central issue of misclassification of employees. These facts were relevant to the ultimate

successful trial for the individual plaintiffs.

                                           MEDIATION:

        36. On or about June 17, 2013, the parties attended mediation which was

ultimately unsuccessful.

        37. Prior to the discovery and depositions, in an attempt to settle the case, we made

significant investment in retaining a nationally recognized mediator who had expertise mediating

class action FLSA claims. On or about April 26, 2016 the parties attended a second mediation

which was ultimately unsuccessful. Thereafter, litigation resumed and was driven by Defendants

aggressive litigation strategy including the continued defense of the independent contractor

business model.

        38. Ultimately Plaintiffs' counsel spent approximately 230 hours related to

preparing and attending mediations. That included the extensive time needed to calculate

damages for the workers that were misclassified.

                                           DISCOVERY:

        39. Both parties timely and efficiently engaged in discovery with respect to

calculating the wage and commission to be paid to Plaintiffs.

        40. However, with regard to the central issue in this case, the misclassification of

employees as independent contractors, the matter underwent very extensive discovery. The




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majority of the time spent in discovery was driven by Defendants' litigation strategy to defend

the business model that the NYS Labor Department had previously rejected and Cellular Sales

itself abandoned as of January 1, 2012.

         41. In addition to the time spent on depositions and the production of tax returns

(as set for the below), Plaintiffs' counsel spent approximately 1058 hours related to the discovery

in this Action.

         A. Depositions:


         42. The parties engaged in several disputes regarding depositions. Specifically, on

September 6, 2016 Cellular Sales filed a Letter Motion requesting authority to conduct the

deposition of each opt-in Plaintiff. (Lead Case Dkt. No. 160).

         43. On September 16, 2016, Plaintiffs filed a Letter Motion in opposition to

Cellular Sales' Motion (Lead Case Dkt. No. 160), and requested that the depositions be limited

to a representative sample of twenty (20) Plaintiffs. (Lead Case Dkt. No. 165). Among Plaintiffs'

arguments to Cellular Sales' request was it violated fundamental principles of representative

litigation under the FLSA and required the exercise of this Court's power to limit cumulative and

duplicative discovery, fid.).

         44. Following several letter motions and conferences referred to in the attached

docket entry, on November 10, 2016, Magistrate Stewart issued a Text Order (Lead Case Dkt.

No. 174), which stated "[w]ith regard to depositions, considering all the arguments raised by all

counsel, the Court concludes that the appropriate resolution of this dispute will be to allow

Defendants' counsel to depose twenty of the Plaintiffs, including the seven named Plaintiffs."

(Id,).




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         45. Additional deposition-related litigation included inter alia, responses to

Cellular Sales' Reply to Motion to Compel Depositions (Lead Case Dkt. No. 160, 167, 169),

Cellular Sales' Motion to Reopen Depositions (Lead Case Dkt. No. 196, 198); Cellular Sales'

second Motion to Reopen Depositions (Lead Case Dkt. No. 236, 239); Cellular Sales' objection

to portion of Magistrate Steward's Discovery Order (Lead Case Dkt. No. 254, 264), our Letter

Motion requesting that the Court accept filing as timely pursuant to Rule 6 (b) (Lead Case Dkt.

No. 265), and our response to Cellular Sales' third attempt to re-open depositions. (Lead Case

Dkt.No. 331,337).

         46. As a result of Defendants' litigation strategy, Plaintiffs' counsel including

Christopher Silva, Esq., Daniel A. Jacobs, Esq., and I attended a total of thirty-one (31)

depositions, requiring us to travel across New York State from Rochester, Buffalo, Syracuse, and

Middletown as well as to various other states including Atlanta, Georgia; Orlando, Florida;

Tampa, Florida; Houston, Texas; and El Paso, Texas.

         47. Ultimately Plaintiffs' counsel spent approximately 877 hours litigating over,

preparing for, conducting and/or traveling to defend depositions the Defendants insisted on. The

central issues covered in those depositions were facts involving the misclassification issue.

Those facts turned out to be uniformly relevant whether for individual Plaintiffs or an entire

class.

         48. The amount of time spent on depositions and the disputes rising therefrom, was

reasonable and necessary for the prosecution of this case, and reflects Defendants' aggressive,

defense strategy which drove the course of the litigation in this Action.

         B. Tax Returns & Business Records:




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       49. Apart from depositions, the production of Plaintiffs' tax returns and business

records sought by Defendants was in itself a time consuming and burdensome job.

       50. To summarize, Cellular Sales sought production of the state and federal tax

returns for all Plaintiffs in this action including individual returns and returns for each of the

Plaintiffs' businesses. Defendants alleged that the returns would illustrate that Plaintiffs'

businesses acted independently from Cellular Sales and as such supported Cellular Sale's theory

that they were appropriately classified as independent contractors rather than employees. The

trial in this action ultimately revealed that the probative value of the returns was far exceeded by

the burden to produce them. The record evidence revealed 95% of all revenue generated by

Cellular Sales came directly from the sales at Cellular Sales' stores in an environment controlled

entirely by the Defendants. Even if the Plaintiffs took deductions related to a home office or

deductions related to travel from home to a Cellular Sales Retail establishment, or even printed

flyers advertising phone sales, the proof revealed that these expenses did not change the

conclusion that plaintiffs were misclassified as independent contractors rather than employees.

Yet all the time spent in obtaining tax returns was required because Defendants insisted on their

production.

       51. Plaintiffs argued against the production of Plaintiffs' tax returns. In fact,

initially, we noted in an August 19, 2016, letter to Cellular Sales that Cellular Sales did not

articulate a "compelling need" for the production of tax returns, and we proposed alternative, less

intrusive means for obtaining the information claimed relevant within the tax returns. (Lead Case

Dkt.No. 158-3).

       52. We also filed numerous motions to limit the intrusiveness of the discovery into

Plaintiffs' tax affairs. (See e.g., Lead Case Dkt. No. 164 [20-page Letter Motion]; Lead Case




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Dkt. No. 222). However, our efforts at limiting the discovery were unavailing. By Text Order on

or about November 10, 2016, the Court granted Defendants' request and ordered Plaintiffs to

produce the tax returns, appropriately redacted within 30 days. (Lead Case Dkt. No. 174).

       53. Thereafter, Plaintiffs' counsel spent countless hours working to obtain both the

New York State and Federal tax returns for each of the fifty-three (53) Plaintiffs; including

individual state and federal tax returns and business state and federal tax returns. The process

required us to first obtain a copy of each Plaintiffs' ID, as well as an executed authorization

Form 4506 entitled "Request for Copy of Tax Return", and DTF-505 entitled "Authorization for

Release of Photocopies of Tax Returns and/or Tax Infon-nation". After we received the

authorizations and IDs, we submitted them to the relevant taxing authorities. Although we were

able to obtain some tax returns, we received numerous rejections from both the IRS and New

York State which required us to contact each of the tax authorities separately to understand the

reason for said rejections.

       54. We prepared a status report for the Court on or about January 4, 2017, wherein

we explained to the Court that since the last conference, 31 out of 53 plaintiffs have served on

Cellular Sales physical tax returns ordered to be disclosed by the Court, and/or fully executed

releases for Cellular Sales to obtain from the relevant taxing authority the tax returns. (Lead Case

Dkt. No. 194). At around the same time. Cellular Sales had advised that it believed that

unspecified tax returns "appear to be incomplete or missing pages and are not signed by the

taxpayers." dd.). Evidently, although we complied with the Court Ordered disclosure, Cellular

Sales was not satisfied with the sufficiency of the tax returns. Nonetheless, we agreed to work

with the Plaintiffs to ensure the insufficient tax returns were corrected and properly disclosed to

Cellular Sales. (Id,).




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       55. Despite our diligent and good faith efforts, however, Cellular Sales proceeded

to file a Motion to Dismiss the claims of seven (7) opt-in Plaintiffs who "failed to.. .produce their

tax return, or authorizations for the release of their tax returns...." (Lead Case Dkt. No. 199, 199-

1). Cellular Sales also filed a Letter Motion requesting a conference to address to tax returns

issues. (Lead Case Dkt. No. 201).

       56. In response, we filed a Letter Motion that detailed the process of obtaining

state and federal tax returns and the myriad of obstacles we were facing from the tax authorities.

(Lead Case Dkt. No. 206). We also filed Plaintiffs' opposition to Cellular Sales' Motion to

Dismiss. (Lead Case Dkt. No. 210).

       57. To discuss the various tax-retum related obstacles, we attended multiple

telephone conferences with the Court and opposing counsel including conferences on November

10, 2016, December 14, 2016, January 5, 2017, March 15, 2017, April 11, 2017, and June 12,

2017. During those conferences we explained to the Court that our good faith efforts at obtaining

the tax returns were fhistrated by the administrative obstacles erected by the Internal Revenue

Service and the NYS Department of Taxation and Finance. Nonetheless, the Court ordered that

we continue our efforts and that we contact the tax authorities directly to obtain the rejection

explanation or otherwise aid in obtaining the tax returns.

       58. Thereafter, we drafted and filed a status report (Lead Case Dkt. No. 215),

concerning the tax returns and authorizations. In the report we explained that because Cellular

Sales is the third-party requesting the tax returns, the taxing authority sends directly to Cellular

Sales' counsel rejection notices for any authorization not honored by the authority. We also

made it clear, that given the current status of obtaining the returns, though no fault of Plaintiffs,

that the process of obtaining tax returns from the IRS and NYSDTF would take several more



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weeks and numerous additional hours from counsel. (Id.). We asked the court to reconsider the

discovery obligation, dd.).

       59. We drafted and filed another status report (Lead Case Dkt. No. 221), alerting

the Court of our progress in obtaining the tax returns and confirming that Counsel has spent

approximately 40 hours since the last conference following up with the tax authorities and

attempting to obtain the returns. dd.).

       60. Around the same time, Cellular Sales had notified Plaintiffs of their intent to

serve a subpoenas duces tecum on non-party accounting firms. In response, we drafted and filed

a Letter Motion, requesting a conference to resolve the pending discovery issue- namely, an

order to quash the Defendants' subpoenas. (Lead Case Dkt. No. 222). Cellular Sales filed a

response to our Motion (Lead Case Dkt. No. 224), and we drafted and filed a response to

Cellular Sales' response. (Lead Case Dkt. No. 226).

       61. Following our subsequent status report (Lead Case Dkt. No. 228), and Cellular

Sales' status report (Lead Case Dkt. No. 229), the Court denied Plaintiffs' Motion to Quash the

subpoenas in part, and allowed for the discovery of all tax returns and associated schedules

during the years identified in the subpoena. (Lead Case Dkt. No. 231).

       62. Our efforts as highlighted above are only a small portion of the overall time

and effort spent in the tax-retum discovery phase of this action. Plaintiffs' counsel spent

approximately 511 hours devoted to the issue of the tax return discovery. All of the time

expended was reasonable and necessary to properly represent the Plaintiffs in this action and to

comply with demands which were driven by Defendants. Most importantly for this application,

all of this time was dedicated to the central factual and legal issue in the case — i.e.

misclassification of employee status.




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                                     MOTION PRACTICE:

       63. The litigation path Defendants' chose to pursue caused Plaintiffs to be involved

in extensive and time-consuming motion practice. (See generally supra).

       64. As alluded to above, there were over fifty (50) motions filed by Defendants

and almost all of those motions required a response by Plaintiffs. The motions ranged from inter

alia. Motions to Dismiss, Motions for Summary Judgment, Motions to Compel Discovery,

Motion to Decertify, Motion for Reconsideration, Motion to Strike Amendments to Pleadings

and Motion to Strike portions of Mandatory Disclosures, Motions to Seal and Motions to Reopen

Discovery. (See Exhibit A & Exhibit B).

       65. Consequently, Plaintiffs, in effectively litigating their case, drafted and filed

approximately forty (40) motions during the pendency of this action. The motions Plaintiffs

filed ranged from inter alia, Motion to Quash Subpoenas, Motion to Amend Pleadings, and

Motions to Exclude Expert Testimony. (See Ex. A & Ex. B).

       66. Accordingly, Plaintiffs' counsel spent approximately 755 hours preparing

Plaintiffs' motions and responding to Defendants' motions.

       67. The amount expended is reasonable and is a natural and proximate

consequence of Defendants' aggressive litigation tactics.

                                            APPEALS:

       68. As this Court recognized throughout the pre-trial proceedings, and during trial,

Cellular Sales' defense to Plaintiffs' claims injected complex factual issues into this litigation.

       69. The complexity of addressing Cellular Sales' defense was compounded by

Cellular Sales' "last-ditch and beyond" defense litigation tactics which required Plaintiffs to file




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numerous interlocutory appeals with the Second Circuit. In total, we spent approximately 327

hours drafting our appeals and our oppositions to the appeals filed by Cellular Sales.

       70. In particular, on or about July 18, 2013, we appealed the District Court's

March 29, 2013, Decision compelling mediation and dismissing the action under the Federal

Arbitration Act. (Lead Case Dkt. No. 40). Based on the arguments asserted in our Appeal, the

Second Circuit issued a Mandate that vacated the District Court's dismissal of the action and

reopened the case. (Lead Case Dkt. No. 49).

       71. Thereafter, Defendants filed an Appeal from the Memorandum-Decision and

Order of the District Court entered October 21, 2014, which denied Defendants' Motion to

Compel Arbitration of the claims of Plaintiffs Pratt and Burrell. (Lead Case Dkt. No. 50). The

Second Circuit affirmed the District Court's judgment. (Lead Case Dkt. No. 93).

       72. Plaintiffs also filed a request for interlocutory appeal with the Second Circuit

in light of the District Court's Memorandum-Decision and Order that the District Court entered

on April 26, 2019 ("Decision") (Lead Case Dkt. No. 430), which denied Plaintiffs' Motion for

Class Certification. Although the Second Circuit denied leave to the interlocutory appeal (Lead

Case Dkt. No. 434), we are currently working on challenging the Decertification Order now that

final judginent has been reached on the merits. (See Lead Case Dkt. No. 483-4-87). However, for

the purposes of this application, we have redacted the time spent on the interlocutory appeal of

the Decertification Order. (See Ex. A).

       73. Ultimately, the amount of time spent on Appellate work was reasonable and

necessary for the prosecution of this case, and reflects Defendants' aggressive, defense strategy.

                         MOTION FOR SUMMARY JUDGMENT:




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           74. Set apart from the other various motions identified above, Plaintiffs' counsel

devoted a substantial amount of time to summary judgment. Indeed, both parties respectively

filed Motions for Summary Judgment. (Lead Case Dkt. 346; Lead Case Dkt. No. 388).

           75. Plaintiffs' Motion for Partial Summary Judgment included approximately

nineteen (19) Plaintiff affidavits with over 200 exhibits, an attorney affirmation with over eighty

(80) exhibits, and a thirty-nine (39) page ]\4emorandum of Law in Support of the Motion. (See
Lead Case Dkt. No. 346, 349-372, 374-376).

           76. In turn. Plaintiffs also prepared an opposition to Defendants' extensive

application by filing a forty (40) page Memorandum of Law including an Attorney Affirmation

and over fifty (50) exhibits. This was followed by Reply papers filed on or about March 28,

2019. (Lead Case Dkt. No 422).

           77. The Motions for Summary Judgment were cross motions that focused

primarily on the central issue of the case: misclassification of employees. Each and every

collateral issue presented in the motions was derivative of this central issue. In fact, the

arguments presented on the issue of misclassification in Plaintiffs' motion and opposition were

ultimately the same arguments in which Plaintiffs prevailed on at trial.

           78. For these reasons. Plaintiffs seek an award for all of the approximately 4632
hours of legal work associated with the preparation of Summary Judgment papers.

                                                      TRIAL:

           79. Ultimately, the central issues of the case left to be decided for a bench trial

were:


                    a. Whether each Plaintiff was an employee or independent contractor of
                          Cellular Sales for purposes of the FLSA during the relevant time periods
                            prior to January 1, 2012.
2
    These hours are included in the approximately 755 hours listed under the Motions portion of the Affirmation.


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                b. Whether each Plaintiff was an employee or independent contractor of
                      Cellular Sales for purposes of the NYLL during the relevant time periods
                     prior to January 1, 2012.

(Lead Case Dkt. No. 448).

        80. The parties prepared and submitted extensive pre-trial submissions, including

the Joint Pre-Trial Order, proposed jury instructions and verdict forms, proposed exhibits,

deposition designations, and a Motion in Limine, as well as the parties' objections and

oppositions to the same. As counsel for the Plaintiffs, we also attended pre-trial judicial

conferences. (See Lead Case Dkt. No.444^466).

        81. The bench trial in this matter was conducted in Albany, New York during a

three (3) day period, on February 24, 25, and 26, 2020.

        82. As this Court recognized throughout the trial, the legal and factual issues in

this matter were extremely complex and novel. As a result, this firm expended significant time

and resources in preparation for the trial, the trial itself and preparing post-trial briefs.

        83. Upon conclusion of the trial, on May 29, 2020, Magistrate Daniel J. Stewart

issued his Decision and Order wherein he determined that "each of the remaining Plaintiffs were

employees of Cellular Sales. . . [a]s such, CSK and CSNY, as stipulated joint employers, are

liable to Plaintiffs for their overtime and minimum wage payments jointly and severally." (Lead

Case Dkt. No. 483, p. 33).

        84. In so ruling, Magistrate Stewart properly found that Plaintiffs were entitled to

damages representing unpaid minimum wages and unpaid overtime amounts. (Id. at 34).

Magistrate Stewart also ordered payment of "liquidated damages in the amount equal to 100

percent of the amount of compensatory damages." (Id.).




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        85. In its Decision, the Court opted into an "award of damages under the NYLL

rather than the FLSA, because it allows for a greater recovery that includes prejudgment

interest." fid. at 35 [Internal citations omitted]). In doing so, the Court held that Plaintiffs "are

entitled to an additional 100% of their compensatory damages as recovery in liquidated

damages... [and] Plaintiffs are entitled to nine percent annual prejudgment interest on their

compensatory damages only." (Id. at 36). Specifically, Plaintiff Holick was awarded a total of

$3,224.49 (consisting of $618.44 for unpaid wages and $510.09 for unpaid overtime pay as

compensatory damages, plus 100% in liquidated damages, and 9% prejudgment interest),

Plaintiff S. Moffitt was awarded a total of $126.85 (consisting of $7.11 for unpaid wages and

$37.50 for unpaid overtime pay as compensatory damages, plus 100% in liquidated damages,

and 9% prejudginent interest), Plaintiff Singh was awarded a total of $3,981.12 (consisting of

$685.90 for unpaid wages and $704.92 for unpaid overtime pay as compensatory damages, plus

100% in liquidated damages, and 9% prejudgment interest). Plaintiff Mack was awarded a total

of $299.30(consisting of $21.85 for unpaid wages and $83.25 for unpaid overtime pay as

compensatory damages, plus 100% in liquidated damages, and 9% prejudgment interest),

Plaintiff Burrell was awarded a total of $1,029.91 (consisting of $192.66 for unpaid wages and

$174.17 for unpaid overtime pay as compensatory damages, plus 100% in liquidated damages,

and 9% prejudgment interest), and Plaintiff Pratt was awarded a total of $2,459.54 (consisting of

$82.79 for unpaid wages and $785.77 for unpaid overtime pay as compensatory damage, plus

100% in liquidated damages, and 9% prejudgment interest). (See Lead Case Dkt. No. 483 &

484).




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        86. Significantly, in its Decision, the Court also set forth that "[a]s the prevailing

party. Plaintiffs are entitled to an award of reasonable attorneys' fees pursuant to both the FLSA

and NYLL." (See Lead Case Dkt. No. 483).

        87. Ultimately Plaintiffs' counsel spent approximately 315 hours dedicated to

preparing for and attending trial and preparing post-trial briefs.

       88. On May 29, 2020 Magistrate Stewart entered a judgment on the merits in favor

of Plaintiffs on both the FLSA and NYLL claims. (Lead Case Dkt. No. 484).

                             THE INSTANT FEE APPLICATION

       89. In light of the extensive time spent in both litigating this action and effectively

responding to opposing counsel's tactics — which drove the course of the litigation — this fee

application took a total of approximately 101 hours to complete.

       90. In preparing the fee application, we were tasked with reviewing all of the

parties' prior submissions and our firm's sizeable time records. Therefore, the amount of time

spent on fee application was reasonable and necessary for the prosecution of this case.

                     ATTORNEY BACKGROUND AND EXPERIENCE

       91. The firm of Gleason, Dunn, Walsh & 0'Shea was established in 1988. For the

entire history of the firm, a significant portion of the firm's practice has focused on Labor and

Employment matters, representing individuals with workplace problems. Gleason, Dunn, Walsh

& O'Shea has earned an "AV® Preeminent™" Peer Review Rating from Martindale-Hubbell,

reflecting that it is both distinguished in legal skill and committed to high ethical behavior.

       92. The following attorneys from Gleason, Dunn, Walsh & 0'Shea have worked

extensively on this matter on behalf of the Plaintiffs: partner Ronald G. Dunn; and associate




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attorneys Christopher M. Silva, Daniel A. Jacobs, and Sarah D. Baum. From time to time other

attorneys have assisted in discrete tasks. (See Ex. A).

       93. The partners of Gleason, Dunn, Walsh & O'Shea charge upwards of $350 per

hour, while the associate attorneys' time is billed upwards of $200 per hour.

                                     Ronald G. Dunn, ESQ.

       94. I have been a practicing attorney for thirty nine (39) years, having first been

admitted in March of 1981. I have focused my practice on labor and employment matters for the

entirety of my career, and represent individual employees in contested labor and employment

litigation matters.

       95. I earned an "AV® Preeminent™" Peer Review Rating from Martindale

Hubbell;* was named one of the "Best Lawyers in America" for 2008 through the present from

"Best Lawyers", in the area of Labor and Employment Law; and was named one of the "Top 10

Lawyers in Upstate New York" (New York Super Lawyers) for 2017, 2018,2019 and 2020 and

one of the "Top 50 Lawyers in Upstate New York" in 2014, 2015 and 2016; and named one of

the 500 Outstanding plaintiff employment lawyers in the United States by Lawdragon for 2018

and 2019. All of these are based on the evaluation from my peers in the legal community. I am a

Fellow in the College of Labor and Employment Lawyers, and a Fellow of the American Bar

Foundation. Both of these "Fellow" designations required extensive peer review and a

nomination process. I am a former Chair of the New York State Bar Association Labor and

Employment Law Section and a longtime member of that Section' s Executive Committee. That

included a four year term as Co-Chair of the Section's Continuing Legal Education Committee.

       96. I frequently lecturer on labor and employment law matters including all

manner of litigation tactics. Attached as Exhibit C is an excerpt of the biographical information



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found on our firm web site, reflecting my academic training, legal experience and professional

qualifications.

                                   Christopher M. Silva, Esq,

       97. Associate Attorney, Christopher M. Silva, has been a practicing attorney for

more than fifteen (15) years, having first been admitted in 2008. He has focused his practice

primarily on labor and employment matters. Attached as Exhibit D is an excerpt of the

biographical information found on our firm web site, reflecting Mr. Silva's academic training,

legal experience and professional qualifications.

                                     Daniel A. Jacobs, Esq.

       98. Associate attorney, Daniel A. Jacobs, joined our firm in 2008 and since 2010

concentrated his practice on representing and counseling employees in all types of employment

and labor law matters. Attached as Exhibit E is an excerpt of biographical information,

reflecting Mr. Jacobs' academic training, legal experience and professional qualifications. Mr.

Jacobs recently left our firm to pursue other professional opportunities and fulfill a longtime goal

of living and working in Denver, Colorado.

                                      Sarah D. Baym, Esq.

       99. Associate Attorney Sarah D. Baum was admitted to practice in 2018, and

focuses her practice primarily on labor and employment litigation matters. Attached as Exhibit

F is an excerpt of the biographical information found on our firm web site, reflecting Ms.

Baum's academic training, legal experience and professional qualifications. Ms. Baum worked

under my direct supervision on this matter. Sarah Baum worked at our firm as a summer intern

prior to her graduation from Law School. The time she spent working on this case during that

period is reflected as paralegal time. (See Ex. A).




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                                   Christopher Scoville, ESQ.

       100. Associate Christopher Scoville also worked on this matter both before he was

admitted and after admission. His time prior to admission is reflected as paralegal time.

Christopher Scoville is a graduate of Albany Law School. He is currently an attorney in

NYSUT's In House Attorney Office.

                              THE SUCCESS ON THE CLAIM

       101. Plaintiffs are considered a prevailing party in this action with respect to their

claims under FLSA and NYLL, as reflected in this Court's award to Plaintiffs of liquidated

damages, and in this Court's direction that Plaintiffs file the instant application for attorneys'

fees. (See Lead Case Dkt. No. 483).

                                 THE WORK PERFORMED

       102. Our firm uses a computer-based system for tracking the work performed by the

attorneys. Attorneys prepare contemporaneous time sheets on a daily basis, which reflect the

precise work that is performed, the attorney that perfomis the work, and the amount of time

expended. These time sheet entries are then entered into a billing software system, which is used

to generate summaries reflecting the total amount of work performed.

       103. Attached hereto as Exhibit J is a spreadsheet illustrating all work that has been

performed on this case since its inception, reflecting the attorney that performed the work, the

amount of time that they spent, the applicable billing rate, and a description of the work

performed - all through July 10,2020.

       104. As reflected in Exhibit J, this case involved extensive time spent by myself and

certain other associate attorneys in my firm, preparing for, responding to, defending against,

and/or completing: (a) paper discovery demands to and from Defendants; (b) preparing for and



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conducting thirty-one (31) depositions; (c) drafting countless motions; (d) drafting extensive pre-

trial submissions; (e) preparing for and conducting the bench trial that lasted three (3) days; (f)

drafting' post-trial briefs; (g) drafting appeals to the Second Circuit; and (g) drafting the instant

application for attorneys' fees, costs and expenses.

        105. Summarizing the time spent on this case, we find that the following attorneys

performed the following work on this file from April 7, 2011 through July 10, 2020:

                       Ronald G. Dunn, Esq.                  565.00 hours

                       Christopher M. Silva, Esq.            13 72.30 hours

                       Daniel A. Jacobs Esq.                 2,892.15 hours

                       Sarah D. Baum, Esq.                   96.90 hours

                       Christopher Scoville, Esq.            114.00 hours

                       Lisa F. Joslin, Esq.                  3.20hour8

                      Mark T. Walsh, Esq.                    .65 hours

                       Emily E. Keeble, Esq.                 42.90 hours

                       Brendan D. Sansivero, Esq.            24.20 hours

                       Bryan J. Huebner, Esq.                31.90 hours

                       Peter N. Sinclair, Esq.               7.90 hours

                       Ethen M. Felder, Esq.                 65.00 hours

                       Sarah J. Berger, Esq.                 2.60 hours

       The work on this file performed by the Paralegals, including time spent by attorneys prior

to their admission amounts to approximately 740.80 hours.




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        106. The amount of time spent was reasonable and necessary for the prosecution of

this case, and reflects Defendants' aggressive defense strategy, and position that they had no

liability whatsoever on Plaintiffs' FLSA and NYLL claims.

       107. All of the time expended was reasonable and necessary to properly represent

the Plaintiffs in this Action. Nevertheless, in the exercise of billing judgment, and as reflected

within Exhibit J, this firm has reduced its own time by approximately 1,069 hours. Plaintiffs do

not seek the time expended by myself and other associates working on either class certification

or notice to the class. (See supra, ^ 32-33).

                                 THE REASONABLE RATE

       108. Gleason, Dunn, Walsh & 0'Shea charges different rates to clients based on

complexity of the matter (more complex matters reflecting a higher rate), the relationship with

the client (with more consistent relationships receiving a lower rate), and the frequency of

payment (with those clients who are able to pay the bill on the monthly basis receiving a more

favorable rate). The rates charged by our firm for partner time range from $350.00 per hour for

the more complex legal matters, to $250.00 per hour for institutional clients where the fi-equency

of work is constant, the downward pressure on the amount of time that we spend on a file is less

pronounced, and the work itself is more routine.

       109. Similarly, the rates that Gleason, Dunn, Walsh & O'Shea charges for associate

time range from $225 per hour for the more complex legal matters, to $135 for institutional

clients where the frequency work is constant, the downward pressure on the amount of time that

we spend on a file is less pronounced, and the work itself is more routine.

       110. In light of the various factors in this case - including the novel and complex

nature of the claims in this matter, the fact that there were numerous Plaintiffs, the contingency



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representation of the Plaintiffs, the Defendants' litigation position and aggressive strategy which

drove the course of litigation, the skill and experience of the attorneys hired to represent the

Plaintiffs, and the success obtained on behalf of the Plaintiffs, we respectfully request that the

following rates be approved for payment in this matter:

                 Partner Ronald G. Dunn                      $350.00 per hour

                 Associate Christopher M. Silva              $200.00 per hour

                 Associate Daniel A. Jacobs                  $200.00 per hour

                 Associate Sarah D. Baum                     $175.00 per hour3

                 Associate Christopher Scoville $175.00 per hour

                 Partner Lisa F. Joslin                      $3 50.00 per hour

                 Partner Mark T. Walsh                       $350.00 per hour

                 Associate Emily E. Keable5                  $175.00 per hour

                 Associate Brendan D. Sansivero              $175.00 per hour

                 Associate Bryan J. Huebner                  $175.00 per hour

                 Associate Peter N. Sinclair                 $175.00 per hour

                 Associate Ethan M. Felder                   $175.00 per hour

                 Associate Sarah J. Burger                   $175.00 per hour

                 Paralegals                                  $80.00 per hour

        In making this request, we have assessed the rates of other attorneys who have been

admitted to the Bar for similar periods, and who have attained similar levels of expertise in the


3 Ms. Baum performed work both pre and post admission to the Bar. As such, we apply different rates of $80.00 for
pre-admission and $175.00 for post-admission. Pre-admission time is reflected as "Paralegal" time in the attached
Exhibit A.
4 Mr. Scoville performed work both pre and post admission to the Bar. As such, we apply different rates of $80.00
for pre-admission and $175.00 for post-admission.
5 Ms. Keable performed work both pre and post admission to the Bar. As such, we apply different rates of $80.00 for
pre-admission and $175.00 for post-admission.


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area of civil rights litigation. In connection with this application, we submit the Affidavits of

Beth A. Bourassa, Esq., sworn to June 30, 2020 (attached hereto as Exhibit G), and James E.

Hacker, Esq., sworn to July 1, 2020 (attached hereto as Exhibit H), which illustrate that the rates

sought herein are reasonable and consistent with the hourly rates charged in the Northern District

by attorneys with similar experience, legal skills, and expertise in labor and employment law.

        111. We also respectfully submit that these rates are consistent with the hourly rates

adopted by U.S. District Court of the Northern District of New York in wage-and-hour and other

labor and employment litigation under fee-shifting statutes such as the NYLL, as outlined in

Plaintiffs' Memorandum of Law accompanying this application.

        112. Applying these rates, the attorneys' fees through July 10, 2020 on behalf of the

Plaintiffs total $961,450.50 - inclusive of the approximately 101 hours spent on the instant fee

application and exclusive of the approximately 1,069 hours spent working on either class

certification or notice to the class.

        113. All of the time expended was reasonable and necessary to properly represent
the Plaintiffs in this Action.

                                            COSTS

        114. An award of costs (other than attorney's fees) to the prevailing party is

presumptive under Federal Rule of Civil Procedure 54(d)(l), and FLSA and NYLL provisions.

(See 28 U.S.C. § 1920; 29 U.S.C. § 216; N.Y. Lab. Law § 198).

        115. Attached hereto as Exhibit I is the Bill of Costs we filed with the Court on

June 26, 2020.




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        116. In addition, attached hereto as Exhibit J is a complete and detailed list of

expenses and disbursements that were incurred in the prosecution of this case on behalf of the

Plaintiffs, totaling $46,065.84.

        117. With respect to costs associated with legal research, those costs have been

significantly reduced. Specifically, Plaintiffs' counsel incurred $9,569.34 for legal research

performed from 2011 through 2017. Initially, when this Action was first commenced, our firm

utilized Westlaw and had an "a la carte" membership. (Exhibit J). After September of 2017, our

firm transitioned its legal research platfonn from Westlaw to Bloomberg. The firm's

membership with Bloomberg was based on a set fee. The firm has since transition back to

Westlaw - the firm's current research platform - based on a set fee. However, in the exercise of

billing discretion, all costs associated with the legal research performed at a set fee on both

Bloomberg and Westlaw are not included in Exhibit J and are not included in the total amount of

costs being sought.

        118. Similarly, in the exercise of billing discretion, the costs associated with

photocopying has also been significantly reduced. Initially, the costs amounted to $14,115.22,

however, to account for the photocopies of working firm copies, we have reduced the cost

amount to $7,057.61— a 50% reduction.

        119. The costs and expenses incurred by Plaintiffs' counsel were reasonable and

necessary for the prosecution of this case.

                                          INTEREST:

       120. Under well-established law and the May 29, 2020, Decision and Order of this

Court, Plaintiffs are entitled to and were awarded pre-judgment interest on the full award, at the




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  9% interest rate provided by New York CPLR §§5001, 5004. Plaintiff is also entitled to post-
 judgment interest on the full award at the same rate, pursuant to CPLR §5003.

         121. For convenience here, Plaintiffs seek post-judgment interest accruing from the

  date of entry of judgment, on the entirety of the judgment - which will include all attorneys'

  fees, costs, and disbursements awarded in this action, in the amount to be calculated by the
  Court. (See CPLR §5003).

                                           CONCLUSION

         122. Based on the above factors and attached exhibits, it is respectfully submitted

  that Plaintiffs' attorneys' fees application is reasonable and consistent with prevailing market
  rates. This Court should award the Plaintiffs: attorneys' fees in the amount of $961,450.50;

  costs, disbursements, and litigations expenses in the amount of $46,065.84; and post-judgment

  interest, including on the attorneys' fees, costs and disbursements awarded to the Plaintiffs.
         123. On or about June 26, 2020, Plaintiffs served a Notice of Appeal. (Lead Dkt.

  No. 485). Plaintiff reserves the right to make further application to this Court under NYLL §198

  for attorneys' fees, costs, and disbursements in connection with Plaintiffs' Appeal.
  Dated: July ^ _,2020                          GLEASON, DUNN, W^                      H       LJC^&H^A
          Albany, New York
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                                                               G. Dunn, Esq.
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                                                        Attorneys for Plaintiffs
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                                                        Albany, NY 12207
                                                        Tel. (518) 432-7511
                                                         Email: rdunn@gdwo.net
  Swpm to before me this
I 3l+^ day of July, 2020
                         \                         STEPHANIE LRAULSEN
  Notary Public - State ofNew'York               Notary Pubfic. State of New Ydk!
                                                     Reg.No.01PA6336187
                                                  Quoted in Attany County
                                               Commtsston E)ylres January 25,:

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